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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )
                                     )
12             Plaintiff,            )      NO. 2:12-CR-364 GEB
                                     )
13        v.                         )      APPLICATION AND ORDER
                                     )      FOR UNSEALING INDICTMENT
14   SIMEON SHAWNISE GREGORY, et al.,)
                                     )
15             Defendants.           )
     ________________________________)
16
17        On October 11, 2012, the Indictment was filed in the above-
18   referenced case.    Since one of the defendants has now been arrested,
19   it is no longer necessary for the Indictment to be sealed.            The
20   government respectfully requests that the Indictment and this case
21   be unsealed.
22   DATED: October 16, 2012                Respectfully submitted,
23                                          BENJAMIN B. WAGNER
                                            United States Attorney
24
25                                      By:/s/ Jared C. Dolan
                                           JARED C. DOLAN
26                                         Assistant U.S. Attorney
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28
           Case 2:12-cr-00364-GEB Document 10 Filed 10/16/12 Page 2 of 2



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 8                    IN THE UNITED STATES DISTRICT COURT
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11   UNITED STATES OF AMERICA,       )
                                     )
12             Plaintiff,            )      NO. 2:12-CR-364-GEB
                                     )
13        v.                         )       - - - - - - - - - ORDER
                                            [PROPOSED]
                                     )      FOR UNSEALING INDICTMENT
14   SIMEON SHAWNISE GREGORY, et al.,)
                                     )
15             Defendants.           )
     ________________________________)
16
17        The government’s request to unseal the Indictment and this case
18   is GRANTED.
19   SO ORDERED:
20   DATED: October 16, 2012                _______________________
                                            HON. EDMUND F. BRENNAN
21                                          U.S. Magistrate Judge
22
23
24
25
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28
